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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                v.                             Criminal Action No. 19-cr-18 (ABJ)

ROGER J. STONE, JR.,

                       Defendant.

                          ROGER J. STONE, JR.’s RESPONSE TO
                          COURT’S ORDER DATED JUNE 25, 2020

       In response to the Court’s Order, dated June 25, 2020, undersigned counsel provide the

following information:

       1.       The Bureau of Prisons (“BOP”) extended Stone’s original surrender date of April

23, 2020 as the result of the Court’s April 16, 2020 order denying Stone’s motion for a new trial.

Dkt. # 361.

       2.       The order states that Stone “must surrender for service of his sentence at the

institution designated by the Bureau of Prisons at such time as he is notified by the U.S.

Probation or Pretrial Services Office, but no earlier than fourteen days after the date of this order

[i.e., no earlier than April 30, 2020].” Dkt. # 361.

       3.       The day after the Court entered its April 16, 2020 order, counsel spoke to BOP by

telephone and inquired as to whether a surrender date had been set and was informed that,

following Stone’s sentencing, BOP set the surrender date for April 23, 2020.

       4.       Counsel informed BOP of the Court’s order requiring that the surrender date be

no earlier than April 30, 2020 and was told that a new surrender date would be set and that, due

to COVID-19, the new date would likely be a few months out.
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       5.       Counsel advised BOP that, given Stone’s medical conditions reflected in the

Presentence Report, a surrender date as late as possible would be advisable.

       6.       BOP subsequently informed counsel that Stone would be required to surrender on

June 30, 2020 and, on April 30, 2020, the Probation Office sent Stone a letter that reflects his

designation to FCI Jesup and his surrender date of June 30, 2020.

       7.       In addition, on or about June 1, 2020, counsel called BOP to request that Stone’s

June 30, 2020 surrender date be extended and was instructed to submit the request via email,

which counsel did, as reflected in the attached correspondence.

       8.       Apart from an automated response acknowledging receipt of the email request,

BOP did not respond to counsel regarding the request.

       9.       On or about June 10, 2020, government counsel informed undersigned counsel

that he had been in contact with BOP and had been informed that BOP was no longer extending

surrender dates based on COVID-19 and that, therefore, BOP would not be changing Stone’s

June 30, 2020 surrender date.

       10.      BOP’s determination led to discussions between the parties that ultimately

resulted in Stone’s decision to file his Unopposed Motion to Extend Surrender Date.

Dated: June 26, 2020

Respectfully Submitted,

 /s/ Seth Ginsberg                                   /s/ Grant J. Smith
 SETH GINSBERG                                       GRANT J. SMITH
 Attorney at Law                                     STRATEGYSMITH, PA
 299 Broadway, Suite 1405                            D.D.C. Bar No.: FL0036
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  From:    Seth Ginsberg srginsberg@mac.com
Subject:   Roger Stone #19579-104
   Date:   June 1, 2020 at 1:54 PM
     To:   gra-dsc/teamalpha@bop.gov


       Dear Hugue

       I respectfully request that the BOP extend the surrender date of the above-referenced inmate
       from June 30, 2020 until September 30, 2020, or any interim date that the BOP deems
       appropriate.

       The basis for this request is that Stone is at high risk from serious complications from a COVID-
       19 infection due to his health issues, which you and I discussed and which are detailed in his
       Presentence Report. We have not previously requested an extension of his surrender date and
       the sentencing court did not set a date but rather left it to the discretion of the BOP.

       Stone is a non-violent, first-time offender who poses no risk of flight or danger to the community.
       Accordingly, on balance, we respectfully submit that an adjustment of his surrender date is
       warranted, given the circumstances.

       Alternatively, it is requested that the BOP designate Stone to serve his sentence on home
       confinement to minimize the danger that he would face if infected with COVID-19.

       I am available to discuss these issues at your convenience and may be reached on my mobile
       number,                .

       Respectfully,

       Seth Ginsberg
       Attorney at Law
       299 Broadway, Suite 1405
       New York, NY 10007
                     (mobile)
       212-227-6655 (office)
       646-607-8597 (fax)
       Please Do Not Send Mail Requiring Timely Attention to Office Address
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